Case 1:14-cv-00465-DKW-RLP Document 16
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Filed 01/20/15 Pagelof5 PagelD #: 113

FILED IN THE
UNITED STATES DISTRICT COURT
DISTRICT OF HAWAII

AN 20 2015

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Plaintiff, Pro Se
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWATI

STACY MONIZ, ) CIVIL NO. 14 CV 00465 DK W-RLP

)
Plaintiff, )
) JOINT DISCOVERY PLAN;
vs. ) CERTIFICATE OF SERVICE

)
)

DAVID J. LUJAN; ANNA B. )

LUJAN; INOKO LLC, a Hawaii)

limited liability company and )

DOE DEFENDANTS 1-20, ) SCHEDULING CONFERENCE:
) FEBRUARY 25 , 2015

Defendants. ) 9:00 A.M.
)
)
)
JOINT DISCOVERY PLAN

 

Plaintiff Stacy Moniz on behalf of and with the agreement of Defendants David J. Lujan,

Anna B. Lujan, and INOKO LLC, report that on January 5, 2015, Plaintiff and counsel for all

Defendants participated in the conference required by Rule 26(f) of the Federal Rules of Civil

Procedure, and as a result of such conference, the parties respectfully submit the following Joint

Discovery Plan for the Court's consideration and approval.
Case 1:14-cv-00465-DKW-RLP Document16 Filed 01/20/15 Page2of5 PagelID#:114

1. Statement of Claims and Legal Issues

a. Plaintiffs' Claims

Plaintiff has filed a eleven count First Amended Complaint alleging that Defendants have
not fully compensated Plaintiff for services performed by Plaintiff and received by the
Defendants. Plaintiff has also alleged that Hawaii revised Statutes Chapter 388 is also applicable
to this matter. The eleven counts are for (1) breach of contract, (2) Breach of the Covenant of
Good Faith & Fair Dealing, (3) Unjust Enrichment (4) Conversion; (5) Fraud in the Inducement,
(6) Fraud, (7) Negligent and/or Intentional Misrepresentation, (8) Violation of HRS Chapter 388,
(9) Promissory Estoppel, (10) Intentional and/or Negligent Infliction of Emotional Distress, and
(11) Quantum Meruit. All eleven counts are based on the same alleged facts and omissions.
Plaintiff has demanded general, special, punitive and consequential damages. Plaintiff has also
demanded damages pursuant to HRS Chapter 388.

This matter was removed to the United States District Court for the District of Hawaii on
October 10, 2014 by Defendants, who claim that there exists complete diversity. Plaintiff has
filed a Motion for Remand that is pending as Plaintiff maintains that complete diversity does not
exist.

Plaintiff has not demanded a jury trial.

b. Defendants' Responses and Legal Issues

Defendants maintain that Plaintiff's First Amended Complaint fails to state a claim upon
which relief can be granted. Defendants dispute whether the services Plaintiff billed Defendant
David Lujan for were actually performed or were performed in a reasonably competent manner.
Defendants dispute the rate that Plaintiff charged for his services. Defendants dispute whether

there is jurisdiction in Hawaii for this claim as the contractual relationship alleged arose in Guam
Case 1:14-cv-00465-DKW-RLP Document16 Filed 01/20/15 Page3of5 PagelD#: 115

and the Defendants reside in Guam. Defendants dispute whether Defendant INOKO, LLC was
properly joined as a defendant as Plaintiff amended his complaint in First Circuit Court without
leave on October 13, 2014, after the notice of removal had already been electronically filed in
this Court on October 10, 2014, which notice was received by Plaintiff no later than October 11,
2014. Defendants dispute whether Plaintiff's motion for remand, filed on January 8, 2015, was
timely filed. Defendants dispute whether Defendants Anna Lujan and INOKO LLC have any
liability to Plaintiff as they were not parties to the contractual relationship between Defendant
Lujan and Plaintiff and none of the invoices submitted by Plaintiff for payment reference any
work performed for either Defendant Anna Lujan or INOKO LLC.

Defendants have demanded a jury trial.
2. Discovery Conducted to Date

To date, the parties have not conducted any discovery.
3. Discovery Problems Encountered to Date

None.
4, Parties' Further Discovery Needs

The Parties anticipate conducting written discovery and taking oral depositions.
5. Estimated Time to Complete Discovery

Approximately 6 to 8 months.
6. Expert Testimony Schedule

The parties anticipate that expert discovery will be conducted after factual discovery, if
any, is completed.

7. Discovery Limitations

The parties do not anticipate any discovery limitations other than those set by the Federal
‘Case 1:14-cv-00465-DKW-RLP Document16 Filed 01/20/15 Page4of5 PagelD#: 116

Rules at this time.
8. Special Discovery Needs

The parties do not anticipate any special discovery needs at this time.
9, Additional Issues Pursuant to Fed.R.Civ.P 26(f) and L.Ciy.R. 26.1

A. Protective Order

At this state of the proceedings, the parties have not discussed whether any protective
orders would be appropriate or requested.

B. Bifurcation

At this state of the proceedings, the parties have not discussed whether bifurcation would
be appropriate or requested.

C. Dispositive Motions

This matter was removed from the First Circuit Court by Defendants claiming

complete diversity. Plaintiff has filed a Motion to Remand disputing this contention.

D. Alternative Dispute Resolution

At this stage of the proceedings, the parties do not believe this matter is appropriate for
voluntary arbitration, mediation or some other form of ADR. The parties have already
participated in mediation with Dispute Prevention & Resolution. As this matter progresses, any
such procedure may be appropriate. The parties do not believe that this matter requires the
appointment of a special master.

DATED: Kaneohe, Hawai’i, January 20, 2015

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STACY MONIZ(_/

Plaintiff, Pro Se
(Case 1:14-cv-00465-DKW-RLP Document16 Filed 01/20/15 Page5of5 PagelD#: 117

IN THE UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF HAWAII

STACY MONIZ, ) CIVIL NO.: 14 CV 00465 DK W-RLP
)
Plaintiff, )
)

vs. ) CERTIFICATE OF SERVICE
)
DAVID J. LUJAN; ANNA B. )
LUJAN; INOKO LLC, a Hawaii ss)
limited liability company and DOE)
DEFENDANTS 1-20, )
)
Defendants. )
)
)
CERTIFICATE OF SERVICE

 

The undersigned hereby certifies that a copy of the foregoing shall be duly served on the

following individual on January 20, 2014 via U.S. Mail at his last known address listed below:

Randall L.K.M. Rosenberg
733 Bishop Street, Suite 2070
MakaiTower, Pacific Guardian Center
Honolulu, Hawaii 96813

DATED: Kaneohe, Hawaii, January 20, 2014.

 

STACY MONIZ (7
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Plaintiff, Pro Se
